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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Criminal Case No. 16-cr-054-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     HEATHER CARR,
2.     TRAMMEL THOMAS,
3.     MERCEDES DIAZ,

       Defendants.


                          STIPULATED PROTECTIVE ORDER


       The United States of America, through Assistant United States Attorney Martha

A. Paluch, and Defendants Heather Carr, through her counsel Mary V. Butterton,

Trammel Thomas, through his counsel Michael G. Root, and Mercedes Diaz, through

her counsel Siddhartha H. Rathod, respectfully move this Court to enter this Stipulated

Protective Order governing the discovery in this case in order to protect grand jury

material and the personal identifying information of third parties.

       The instant offense involves the Defendants’ alleged submission of false

applications for federal student aid and applications to community colleges for

admission in the names of approximately 180 individuals. The discovery in this case

includes documents submitted to the Department of Education and community colleges

in these individuals’ names, which documents contain these individuals’ personal

identifying information such as dates of birth, alleged addresses, and social security
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numbers. The discovery also includes grand jury testimony and exhibits. It is

necessary for the Government to make these materials available to the Defendants and

their counsel in discovery.

       In order to balance the privacy concerns of the individuals named in these

documents and other records against the important interest in the government providing

broad discovery in this case, the parties have stipulated to the terms set forth in the

attached proposed protective order. For good cause, the Court may enter a protective

order regulating discovery in a criminal case pursuant to Fed. R. Crim. P. 16(d)(1).

       IT IS STIPULATED that disclosure of information contained in the documents

and other records at issue in this case shall be made only to the Defendants, their

attorneys, and anyone hired or employed for the purpose of assisting in the preparation

of the defense in this case (to include third-party vendors); the Defendants and their

attorneys or agents will not use this information, or the substance thereof, in any way

except as is necessary in preparing and presenting the legal defense of this case; this

information shall be maintained in the defense attorneys’ (or third-party vendors’)

custody; and such information shall not otherwise be disclosed, reproduced, or

disseminated. Defense counsel agree that if any portion of the discovery is provided to

a third-party vendor, defense counsel will provide that vendor with a copy of this

Stipulated Protective Order and will ensure that the third-party vendor agrees to the

terms set forth in this Protective Order prior to receipt of any discovery.

       IT IS ALSO STIPULATED that this agreement may be modified by specific

agreement between the United States and Defendant(s) where disclosure of certain

non-Grand Jury redacted discovery to a Defendant or Defendants is necessary.

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      SO STIPULATED:



s/Mary V. Butterton      3/31/16               s/Michael G. Root       3/31/16
Mary V. Butterton        Date                  Michael G. Root         Date
Counsel for Heather Carr                       Counsel for Trammel Thomas



s/Siddhartha H. Rathod   3/31/16               s/ Martha A. Paluch     3/31/16
Siddhartha H. Rathod     Date                  AUSA Martha A. Paluch   Date
Counsel for Mercedes Diaz


      Dated this 1st day of April, 2016.

                                               BY THE COURT:



                                               __________________________
                                               William J. Martínez
                                               United States District Judge




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